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STEVEN W. MYHRE COUNSEL/PARTIES OF RECORD

Attorney for the United States

Acting Under Authority Conferred by
Title 28, United States Code, Section 515
JAMES E. KELLER

  
   

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Assistant United States Attorney oy. DISTRICT of NEVER
333 Las Vegas Boulevard South, Suite 5000 SSS EPUTY |

Las Vegas, Nevada 89101
UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
; ~SAP-CLOH

UNITED STATES OF AMERICA, Case No. 2:14-CR-OOtRe

Plaintiff, CRIMINAL INFORMATION
vs. VIOLATION:
R. CHRISTOPHER READE, Title 18, United States Code, Section 3 —

Accessory After the Fact to Laundering of
Defendant. Monetary Instruments

 

 

 

THE ATTORNEY FOR THE UNITED STATES CHARGES THAT:

Between on or about February 15, 2007, and continuing to on or about September

13, 2007, in the District of Nevada, and elsewhere,
R. CHRISTOPHER READE,

defendant herein, knowing that an offense against the United States had been
committed, to wit: the Laundering of Monetary Instruments, in violation of Title 18,
United States Code, Section 1956(a)(1)(B)(i), did receive, relieve, comfort, and assist the
offender, Richard Young, in order to hinder and prevent the offender's apprehension,
trial, and punishment, all in violation of Title 18, United States Code, Section 3.

DATED this ibe day of January, 2014.

STEVEN W. MYHRE
Attorney for t nited States

   

 

Assistant United States Attorney

 
